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U.S. Department of Justice

 

United States Attorney
District of Maryland
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October 1, 2018

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David J. Walsh-Little * ~ = ac
Office of the Federal Public Defender Bre 2 2°
100 South Charles Street we wes
Tower II, Suite 1100 as 1 Sai=
Baltimore, Maryland 21201 to = R ~ = am
Sma. 2g
Re: United States v. Ronnie Stiverson, Criminal #: GLR-18-0272. = m mM Se

Dear Counsel:

This jietter, together with the Sealed Supplement, confirms the plea agreement (this
“Aereement”) that has been offered to your client (hereinafter “Defendant”), by the United States
Attorney’s Office for the District of Maryland (“this Office”). Ifthe Defendant accepts this offer,
please have the Defendant execute it in the spaces provided below. If this offer has not been
accepted by October 1, 2018, it will be deemed withdrawn. The terms of the Agreement are as

follows:

Offense of Conviction

}. The Defendant agrees to plead guilty to Count One of the Indictment now pending
against him charging him with one count of Possession of Child Pornography, 18 U.S.C. §
2252A(a)(5)(B) & (b)(2). The Defendant admits that he is, in fact, guilty of the offense and will

so advise the Court.

Elements of the Offense

2. The elements of the offenses to which the Defendant has agreed to plead guilty,
and which this Office would prove if the case went to trial, are as follows:

That on or about the time alleged in the Information, in the District of Maryland:

a. The defendant possessed any matter that contained an image of child

pornography ,

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b. That such child pornography had been transported in interstate or foreign
commerce by any means, including by computer, or that such child pornography had been
produced using materials that had been mailed or shipped or transported in interstate or foreign
commerce by any means, including by computer; and

c. That the image was of one or more prepubescent minors engaged in sexually
explicit conduct; and

d. That the Defendant knew of the sexually explicit nature of the material and
that the visual depictions were of actual minors engaged in that sexually explicit conduct.

 

 

 

 

 

 

 

 

 

 

 

Penalties
3. The maximum penalties provided by statute for the offense to which the
Defendant is pleading guilty are as follows:
MANDATORY . MAXIMUM
MAXIMUM MAXIMUM SPECIAL
COUNT | STATUTE MINIMUM SUPERVISED
IMPRISONMENT FINE ASSESSMENT
IMPRISONMENT RELEASE
18 , $100/$5,000
i U.S.C. § 10 years 20 years Life $250,000 | . (I8 U.S.C. §
2252A 3014)
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons

has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum

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schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Sex Offender Registration and Additional Special Assessment

4, The Defendant understands and agrees that, as a consequence of the Defendant’s
conviction for the crimes to which the Defendant is pleading guilty, the Defendant will be required
to register as a sex offender in the place where the Defendant resides, 1s an employee, and is a
student, pursuant to the Sex Offender Registration and Notification Act (SORNA), and the laws
of the state of the Defendant’s residence. Failure to do so may subject the Defendant to new
charges pursuant to 18 U.S.C. § 2250.

Waiver of Rights

5. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b, If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

Cc. The Defendant has the right to have his case presented to a Grand Jury,
which would decide whether there is probable cause to return an indictment against him. By
agreeing to proceed by way of Information, he is giving up that right, and understands that the
charges will be filed by the United States Attorney without the Grand Jury.

d. If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government’s witnesses. The Defendant would not have to present
any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in

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defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

e. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any

adverse inference from the Defendant’s decision not to testify.

f. If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

g. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

h. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

i. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

6. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e))
and 28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will

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impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account
the advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

7. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agree to the following Sentencing Guidelines:

a. The base offense level is 18. U.S.S.G. § 2G2.2(a)(1).

b. Pursuant to U.S.S.G. § 2G2.2(b)(2), there is a two (2) level increase because
the depictions involved prepubescent minors or minors under the age of twelve (12). (Subtotal:
20).

c. Pursuant to U.S.8.G. §2G2.2(b)(3)(B), there is a two (2) level increase
because the offense involved distribution. (Subtotal: 22).

d. Pursuant to U.S.S.G. §2G2.2(b)(6), there is a two (2) level increase because
the offense involved the use of a computer. (Subtotal: 24).

e. Pursuant to U.S.8S.G. § 2G2.2(b)(5), 5 levels are added because the
Defendant engaged in a pattern of activity involving the sexual abuse or exploitation of a minor.
(Subtotal: 29).

f, Pursuant to U.S.S8.G. §2G2.2(b)(7)(D), there is a five (5) level increase
because the offense involved more than 600 images. (Subtotal: 34).

g. -This Office does not oppose a two-level reduction in the Defendant’s
adjusted offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent
prompt recognition and affirmative acceptance of personal responsibility for the Defendant’s
criminal conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an
additional one-level decrease in recognition of the Defendant’s acceptance of personal
responsibility for the Defendant’s conduct. This Office may oppose any adjustment for acceptance
of responsibility under U.S.S.G. § 3E1.1(a) and may decline to make a motion pursuant to U.S.S.G.
§ 3E1.1(b), if the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii)
denies involvement in the offense; (iii) gives conflicting statements about the Defendant’s
involvement in the offense; (iv) is untruthful with the Court, this Office, or the United States
Probation Office; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in
any criminal conduct between the date of this Agreement and the date of sentencing; (vii) attempts
to withdraw the plea of guilty; or (viii) violates this Agreement in any way.

h. Accordingly; the adjusted base offense level is 31.
8. There is no agreement as to the Defendant’s criminal history and the Defendant

understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final

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offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

9. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11 (c) (1) (C) Plea

10. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a sentence of 15 years of imprisonment in the custody of the Bureau of Prisons
and supervised release for life is the appropriate disposition of this case taking into consideration
the nature and circumstances of the offense, the Defendant’s criminal history, and all of the other
factors set forth in 18 U.S.C. § 3553(a). This Agreement does not affect the Court’s discretion to
impose any lawful fine or to set any lawful conditions of probation or supervised release. In the
event that the Court rejects this Agreement, except under the circumstances noted below, either
party may elect to declare the Agreement null and void. Should the Defendant so elect, the
Defendant will be afforded the opportunity to withdraw his plea pursuant to the provisions of
Federal Rule of Criminal Procedure 11(c)(5). The parties agree that if the Court finds that the
Defendant engaged in obstructive or unlawful behavior and/or failed to acknowledge personal
responsibility as set forth herein, neither the Court nor the Government will be bound by the
specific sentence contained in this Agreement, and the Defendant will not be able to withdraw his
plea.

Obligations of the Parties

11. This Office represents that the Baltimore City State’s Attorney’s Office will
recommend that any sentence imposed in the pending violation of probation in in the Circuit Court
for Baltimore City, State v. Stiverson, Case Number 111235014, up to the maximum sentence of
20 years, be imposed concurrent to the sentence in the instant case.

12. This Office reserves the right to bring to the Court’s attention all information with
respect to the Defendant’s background, character, and conduct that this Office deems relevant to
sentencing. At the time of sentencing, this Office will move to dismiss any open counts against
the Defendant. :

Waiver of Appeal

13. In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s).

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b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever lawful sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release).

c. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Forfeiture

14. a, The Defendant understands that the Court may enter an Order of Forfeiture
as part of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly
traceable to the offense(s), substitute assets, and/or a money judgment equal to the value of the
property derived from, or otherwise involved in, the offenses.

b. Specifically, but without limitation on the government’s right to forfeit all
property subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United
States all of the Defendant’s right, title, and interest in the following items that the Defendant
agrees constitute money, property, and/or assets derived from or obtained by the Defendant as a
result of, or used to facilitate the commission of, the Defendant’s illegal activities including: a
Nook tablet, Model BNTV4TO.

C. The Defendant agrees to consent to the entry of orders of forfeiture for the
property described in the two above subparagraphs and waives the requirements of Federal Rules
of Criminal Procedure 11(b)(1)(J), 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

g. The Defendant agrees to assist fully in the forfeiture of the above property.
The Defendant agrees to disclose all assets and sources of income, to consent to all requests for
access to information related to assets and income, and to take all steps necessary to pass clear title
to the forfeited assets to the United States, including executing all documents necessary to transfer
such title, assisting in bringing any assets located outside of the United States within the
jurisdiction of the United States, and taking whatever steps are necessary to ensure that assets
subject to forfeiture are made available for forfeiture.

h. The Defendant waives all challenges to any forfeiture carried out in
accordance with this Agreement on any grounds, including any and all constitutional, legal,
equitable, statutory, or administrative grounds brought by any means, including through direct
appeal, habeas corpus petition, or civil complaint. The Defendant will not challenge or seek review
of any civil or administrative forfeiture of any property subject to forfeiture under this Agreement,

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and will not assist any third party with any challenge or review or any petition for remission of
forfeiture.

Restitution

15. | The Defendant agrees to the entry of a restitution order for the full amount of the
victims’ losses. The defendant agrees that, pursuant to 18 U.S.C. §§ 3663 and 3663A and
3563(b)(2) and 3583(d), the Court may order restitution of the full amount of the actual, total loss
caused by the offense conduct set forth in the factual stipulation. The total amount of restitution
shall be due immediately and shall be ordered to be paid forthwith. Any payment schedule imposed
by the Court establishes only a minimum obligation. Defendant will make a good faith effort to
pay any restitution. Regardless of Defendant’s compliance, any payment schedule does not limit
the United States’ ability to collect additional amounts from Defendant through all available
collection remedies at any time. The Defendant further agrees that the Defendant will fully
disclose to this Office, the probation officer, and to the Court, subject to the penalty of perjury, all
information (including but not limited to copies of all relevant bank and financial records)
regarding the current location and prior disposition of all funds obtained as a result of the criminal
conduct set forth in the factual stipulation. The Defendant further agrees to take all reasonable
steps to retrieve or repatriate any such funds and to make them available for restitution. If the
Defendant does not fulfill this provision, it will be considered a material breach of this Agreement,
and this Office may seek to be relieved of its obligations under this Agreement.

Consequences of Vacatur, Reversal or Set-Aside

16. If a conviction entered pursuant to this Agreement is vacated, reversed, or set aside
for any reason, then this Office will be released from its obligations under this Agreement, and
any prosecution that is not time-barred as of the date of the signing of this Agreement (including
any counts this Office has agreed to dismiss) may be commenced or reinstated against the
Defendant, notwithstanding the expiration of the statute of limitations between the signing of this
Agreement and the commencement or reinstatement of such prosecution. The Defendant agrees
to waive all defenses based on the statute of limitations with respect to any prosecution that is not
time-barred on the date this Agreement is signed, and any applicable statute of limitations will be
tolled from the date of this Agreement until 120 days after the vacatur, reversal, or set aside

-becomes final. The Defendant waives any defenses based on double jeopardy, pre-indictment
delay, or the Speedy Trial Act.

Defendant’s Conduct Prior to Sentencing and Breach

17, a, Between now and the date of the sentencing, the Defendant will not engage
in conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any
federal, state, or local law; will acknowledge guilt to the probation officer and the Court; will be
truthful in any statement to the Court, this Office, law enforcement agents, and probation officers;
will cooperate in the preparation of the presentence report; and will not move to withdraw from
the plea of guilty or from this Agreement.

b, If the Defendant engages in conduct prior to sentencing that violates the
above paragraph of this Agreement, and the Court finds a violation by a preponderance of the

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evidence, then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office
may make sentencing arguments and recommendations different from those set out in this
Agreement, even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any
criminal or civil proceeding, this Office will be free to use against the Defendant al! statements
made by the Defendant and any of the information or materials provided by the Defendant,
including statements, information, and materials provided pursuant to this Agreement, and
statements made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of
Criminal Procedure. A determination that this Office is released from its obligations under this
Agreement will not permit the Defendant to withdraw the guilty plea. The Defendant
acknowledges that the Defendant may not withdraw the Defendant’s guilty plea—even if made
pursuant to Rule 11(c)(1)(C}—if the Court finds that the Defendant breached the Agreement. In
that event, neither the Court nor the Government will be bound by the specific sentence or
sentencing range agreed and stipulated to herein pursuant to Rule 11(c)(1)(C).

Entire Agreement

18. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no
other agreements, promises, undertakings, or understandings between the Defendant and this
Office other than those set forth in this letter and the Sealed Supplement. No changes to this
Agreement will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Robert K. Hur
United States Attorney

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Paul E. Budlow
Assistant United States Attorney

I have read this Agreement, including the Sealed Supplement, and carefully reviewed
every part of it with my attorney. J understand it and I voluntarily agree to it. Specifically, I
have reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not
wish to change any part of it. Iam completely satisfied with the representation of my attorney.

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Date Ronnie Stiverson

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the

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Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

oir. AN

Date | David Walsh-Little

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Attachment A — Stipulated Facts

The undersigned parties hereby stipulate and agree that the following facts are true and
accurate, and that if this matter had gone to trial, the government would have proven the following
facts beyond a reasonable doubt. The undersigned parties also stipulate and agree that the
following facts do not encompass ail of the evidence that would have been presented had this
matter gone to trial.

Ronnie Stiverson, also known as Ronnie Jay Stevenson (“Stiverson’’), age 50, is a resident
of Baltimore City, Maryland. As detailed below, beginning no later than February 2016, Stiverson
used various online accounts, mobile applications, and devices to send, receive, and collect child
pornography. Stiverson also used the online accounts to contact minors and solicit images of child
pornography from the minors.

On March 3, 1993, in Case No. 192343046 in the Circuit Court for Baltimore City,
Stiverson was convicted of Child Abuse — Child Under 18. On the same day, in Case Numbers
192343039 & 192343033, in the Circuit Court for Baltimore City, Stiverson was convicted of two
counts of Sex Offense in the 2"4 degree. As to each count of conviction, Stiverson was sentenced
to concurrent terms of 20 years’ incarceration, of which 15 years was suspended, and he was placed
on 5 years’ probation upon his release from the Maryland Department of Corrections.

On February 23, 2012, in Case Number 111235014 in the Circuit Court for Baltimore City,
Stiverson was convicted of Sex Abuse of a Minor. Stiverson was sentenced to 25 years’
incarceration, with 20 years suspended, and he was placed on 5 years’ probation upon his release
from the Department of Corrections. Stiverson was also ordered to register as a sex offender.

Beginning no later than August 2017, and continuing through at least October 25, 2017,
Stiverson maintained an online storage account with Dropbox, with a user name of “Meadows
Ronnie,” affiliated with the email address ronniemeadows3@gmail.com. Stiverson used the
account to collect and store files of child pornography, which account contained one or more visual
depictions of prepubescent minors engaged in sexually explicit conduct. On October 25, 2017,
Dropbox sent Cybertipline Report 25122592 to the National Center for Missing and Exploited
Children (NCMEC) for the account ronniemeadows3@gmail.com, and closed the account the
same day. At the time the account was shut down, the account contained six folders, all of which
contained numerous images and videos of children engaging in sexually explicit conduct. This
account contained more than 20 videos depicting minors engaging in sexually explicit conduct.
One of those videos was “e2d2d3b1-ce29-48de-85f2-2a5£859d5al4.mp4,” described here:

A video file approximately one minute and fifty-nine seconds in duration. The video depicts
a prepubescent female performing oral sex on an adult male as the adult male touches the
prepubescent female’s vaginal area with his fingers. The prepubescent female is only
wearing stockings that cover her legs from her thighs to her feet.
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Stiverson was also the exclusive user of the following two Dropbox accounts, which he used
to collect child pornography:

> The Dropbox account associated with ron196814@yahoo.com, and username ronnie
lewis. This account contained five folders titled: trade, under 18 nude boy pics, under
18 nude boy vids, under 18 nude girl pics, and under 18 nude girl vids. At least four
of the five folders contained images and/or videos of child pornography. This
account was opened by Stiverson in December 2016.

>» The Dropbox account associated with raymondburr02@gmail.com, username Reggie
Burr. This account contained two folders and one video. The folders are titled boy
nude pics and vids. At least one of the folders contains numerous images of child
pornography.

In 2017, Stiverson also used Website A to share files of child pornography. Stiverson was
part of a group chat where various participants in the group were sharing files of child
pornography. Stiverson shared child pornography files with the other participants in this group
chat, and this activity was monitored at the time by an undercover officer.

Following a number of Cybertips to NCMEC relating to the above-mentioned accounts, a
search warrant for Stiverson’s person and devices was executed on May 2, 2018. Stiverson was
in possession of a Nook tablet, Model BNTV4TO, which was made in China. The device was
forensically examined and found to contain visual depictions of prepubescent minors engaged in
sexually explicit conduct. The tablet had the instant messaging mobile application “Kik” installed,
with an account log-in that was exclusively used by Stiverson. Law enforcement observed Kik
group conversations and files of child pornography being traded within the conversation. Two of
the images in the Kik conversations are described as follows:

> An image file depicting a naked prepubescent male sitting outside with his erect
penis exposed; and

> An image file depicting a naked prepubescent male sitting outside with his erect
penis exposed.

Stiverson was advised of his rights per Miranda, and voluntarily spoke to the investigators.
Stiverson provided the following information:

> He initially denied using Dropbox and using the Google account
ronniemeadows3 @gmail.com;

> He later admitted to being the user of ronniemeadows3@gmail.com and the
Dropbox account associated with ronniemeadows3@gmail.com;

> He stated that the account was suspended a couple months ago, and that he
subsequently opened a new Dropbox account that he uses to save files of child
pornography.

> He used the Kik application to trade child pornography;

> He had also used Website A in the username pedoron and has shared Dropbox links
containing child pornography on both Kik and Website A.
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> He also used the online file sharing site Mega to store files of child pornography to
his Mega account.

He saved child pornography to the Nook tablet, which he recently acquired;

He communicated with minors online, and during these communications, he
engaged in sexually explicit conversations with the minors, including sexual role
play;

He has talked to hundreds of minors online;

The minors were between the ages of 12 and 17, and include male and female;

He sent images of his exposed penis to the minors;

He asked the minors to send him nude images of themselves, depicting their
genitals; and

> He estimated that between 10 and 12 minors have sent him such images.

Vv

VvVWvVWv

The Nook tablet was manufactured outside the state of Maryland. The child pornography
found in Stiverson’s possession was transported in or affecting interstate or foreign commerce,
and was produced using materials that had been transported in or affecting interstate or foreign
commerce. The child pornography that Stiverson possessed, received, and distributed using his
email account was transported in or affecting interstate or foreign commerce.

I have reviewed the foregoing statement of facts with my attorney, understand it, agree
with it, and do not wish to change any part of it. 1 further understand that it is included as part of
my plea agreement with the government in this case

Ronnie Stiverson -

I am Mr. Stiverson’s attorney. I have carefully reviewed the statement of facts with him.

David OLD Esquire

Counsel for Ronnie Stiverson
